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 4
     Attorney for Defendant
 5
     YGNACIA BRADFORD
 6

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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                            SACRAMENTO DIVISION
11

12
     UNITED STATES OF AMERICA,                       ) Case No. CR S 10-0223-JAM
13                                                   )
                                  Plaintiff,         )
14                                                   ) STIPULATION AND ORDER] TO
            vs.                                      ) RESCHEDULE JUDGMENT AND
15                                                   ) SENTENCING
                                                     )
16                                                   )
     YGNACIA BRADFORD,                               )
17                                                   )
                                  Defendants.        )
18                                                   )
19

20           IT IS HEREBY STIPULATED by and between the parties, the UNITED STATES
21   OF AMERICA, through undersigned counsel, Phillip A. Ferrari, Assistant United States
22   Attorney, and Joseph J. Wiseman, attorney for Ygnacia Bradford, that Judgment and
23   Sentencing of Defendant Bradford, scheduled for August 26, 2014, be vacated and
24   rescheduled for October 7, 2014 at 9:30 a.m.
25           The parties are entering this stipulation to provide Probation with enough time to
26   complete the addendum to the final PSR and because of a conflict with Mr. Wiseman’s
27   schedule.
28




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     Stipulation and (Proposed Order to Reschedule                    Case No. CR.10-0223 JAM
     Judgment and Sentencing
       Case 2:10-cr-00223-JAM Document 622 Filed 08/21/14 Page 2 of 2


 1   Dated: August 18, 2014                          Respectfully submitted,
 2
                                                     By: /s/ Joseph J. Wiseman
 3                                                   JOSEPH J. WISEMAN
                                                     Attorney for Defendant
 4                                                   YGNACIA BRADFORD
 5
     Dated: August 18, 2014                          By: /s/ Phillip A. Ferrari
 6                                                   PHILLIP A. FERRARI
                                                     Assistant U.S. Attorney
 7                                                   Attorney for the United States
 8

 9
                                                     ORDER
10
             GOOD CAUSE APPEARING, it is hereby ordered that Judgment and Sentencing
11
     of Defendant Bradford be rescheduled for October 7, 2014 at 9:30 a.m.
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13
     IT IS SO ORDERED.
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15
     Dated: 8/20/2014                                      /s/ John A. Mendez__________
16                                                         HON. JOHN A. MENDEZ
                                                           United States District Court Judge
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     Stipulation and (Proposed Order to Reschedule                          Case No. CR.10-0223 JAM
     Judgment and Sentencing
